AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                  FILED
                                                              for the                                          July 06, 2022
                                                   Western District
                                                __________ District of
                                                                    of Texas
                                                                       __________                         CLERK, U.S. DISTRICT COURT
                                                                                                          WESTERN DISTRICT OF TEXAS

                  United States of America                       )                                                    M. Ramirez
                                                                                                      BY: ________________________________
                             v.                                  )                                                            DEPUTY
                                                                 )      Case No. 7:22-MJ-184
                RAYMOND CHARLES JR.
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)


                                                   CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  JULY 1ST, 2022              in the county of               ECTOR                in the
    WESTERN            District of            TEXAS          , the defendant(s) violated:

            Code Section                                                   Offense Description
18 USC 922(g)(1),                             Felon in Possession of a firearm




         This criminal complaint is based on these facts:




         ’ Continued on the attached sheet.


                                                                                             /s/ Nicholas Moore
                                                                                            Complainant’s signature

                                                                                    DETECTIVE NICHOLAS MOORE
                                                                                             Printed name and title

Sworn to before me and signed in my presence.


Date:             07/06/2022
                                                                                               Judge’s signature

City and state:                         MIDLAND, TEXAS                           Ronald C. Griffin, U.S. Magistrate Judge
                                                                                             Printed name and title
                                                                         7:22-MJ-184
                                                  AFFIDAVIT

             I, Nicholas Moore, a Detective with the Odessa Police Department Intelligence Division
     being first duly sworn, deposes and states as follows:

1.          I am an investigative or law enforcement officer of the Odessa Police Department. I have
     been employed as a peace officer with the Odessa Police Department for approximately four and a
     half years. For approximately one and half years, I was assigned to the Patrol Division. For
     approximately two and a half years, I have been assigned to the Intelligence Division investigating
     narcotics, vice offenses, fugitive apprehension, along with violent crimes within the State of Texas
     and US Federal court systems. I am currently assigned to the investigation of Raymond CHARLES
     Jr. Specifically, CHARLES is accused of possessing a firearm, while being a convicted felon, to wit:
     black Ruger P90 .45 caliber semi-automatic handgun serial#663-83678 that was manufactured in
     Prescot, Arizona which had been shipped and transported in interstate and foreign commerce, in
     violation of Title 18, United States Code, Section 922(g).

2.   The sole purpose of this affidavit is to establish that there is probable cause to believe that
     CHARLES engaged in specific criminal activity. This affidavit is made, in part, on the personal
     knowledge derived from participation in this investigation and, in part, upon information and belief.
     The source of information and belief are: oral and written reports about this investigation that have
     been received, either directly or indirectly from other local law enforcement officers. This affidavit
     does not contain all information known to law enforcement officers concerning this matter.

3.   On July 1st, 2022 at approximately 12:38 a.m. Corporal G. Potter observed a blue single cab 2013
     Chevrolet Silverado bearing Arkansas LP# AFE63X traveling south in the 100 block of Pronto
     Street, Odessa, Ector County, in the Western District of Texas. The vehicle was traveling at a high
     rate of speed as it approached the intersection with Trunk Street. Corporal G. Potter observed the
     driver making a right turn westbound onto the 6500 block of Trunk Street without stopping at the
     stop intersection. The driver ran the stop sign at a high rate of speed. The stop sign is clearly visibly
     and even has very bright red flashing LED lights around it to increase visibility at night from a very
     long distance away.

4.   The driver then began accelerating westbound on the 6500 block of Trunk Street, a 35mph street at
     a very high rate of speed. Corporal G. Potter had to accelerate over 70 mph to catch up to the
     violator vehicle and a traffic stop was initiated near intersection of Trunk/Proctor.

5.   The driver, owner, and sole occupant of the vehicle was positively identified as Raymond
     CHARLES Jr. Corporal G. Potter detected a moderate odor of an alcoholic beverage on CHARLES
     breath and his eyes were very red and bloodshot. CHARLES indicated that he drank a couple of
     beers. Furthermore, he detected an extremely strong and distinctive odor of marijuana emitting from
     CHARLES breath and from inside the vehicle.



6.   Corporal G. Potter asked CHARLES to exit the vehicle to conducted a probable cause search and
     asked if he had any weapons to which he initially indicated that he did not. Corporal G. Potter
     observed in plain view in the driver’s door pocket an Ooze THC vape pen with a full vape cartridge
     attached to it. CHARLES was detained so that Corporal G. Potter could safely conduct a search for
     narcotics at this time pending further investigation.
7.    CHARLES then voluntarily informed Corporal G. Potter that he had a gun in his truck despite
      initially telling Corporal G. Potter he had no weapons. Corporal G. Potter searched CHARLES truck
      based on probable cause and located in the front dash ash tray a clear plastic bag filled with a
      useable amount of marijuana under two ounces. Corporal G. Potter located a black Ruger P90 .45
      caliber semi-automatic handgun serial#663-83678 that was manufactured in Prescot, Arizona
      located next to the seat belt on the driver’s side which had been shipped and transported in interstate
      and foreign commerce, in violation of Title 18, United States Code, Section 922(g). The firearm was
      loaded with 8 rounds of ammunition in the magazine. A computer check confirmed that the handgun
      was stolen out of Crawford Co SO Van Buren Arkansas case #2015-0640.

8.    A computer check through dispatch revealed that CHARLES has an extensive Criminal History
      through multiple states which includes but not limited to a FELONY conviction on June 29th, 2000
      for Residential Burglary/Theft of Property out of Star City, Arkansas. Furthermore, CHARLES is a
      convicted felon out of the US Federal Courts for PWID Cocaine where he served twelve months of
      confinement in the BOP.

9.    On the day of the incident, Corporal G. Potter was wearing a department issued Axon Body Camera
      3 which records audio and visual. On video when Corporal was detaining CHARLES, CHARLES
      states “I have my gun right there”. CHARLES was read his Miranda rights and did not want to
      answer questions.

10.   Assistant United States Attorney Monica Daniels was notified and agreed to prosecute the case.

                                     FEDERAL CRIMINAL VIOLATIONS

11.   Specifically, CHARLES is accused of possessing a firearm, while being a convicted felon, to wit:
      black Ruger P90 .45 caliber semi-automatic handgun serial#663-83678 that was manufactured in
      Prescot, Arizona which had been shipped and transported in interstate and foreign commerce, in
      violation of Title 18, United States Code, Section 922(g). Under federal law, the crime of Felon in
      Possession of a Firearm is punishable by up to ten years in prison, three years of supervised release,
      and $250,000 in fines.


                                                         /s/ Nicholas Moore
                                                     _______________________________
                                                     Detective Nicholas Moore
                                                     Odessa Police Department
                                                     Intelligence Unit

                                               Sworn and Subscribed before me this 6th day of July, 2022.



                                                     _______________________________
                                                     Ronald C. Griffin
                                                     United States Magistrate Judge
